              Case 2:07-cr-00248-WBS Document 805 Filed 03/18/11 Page 1 of 2


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 4
     Attorney for Defendant,
 5   THURMAN MAXWELL
 6
                              IN THE UNITED STATES DISTRICT COURT
 7
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,           )               No. CR S 07 0248 WBS
10                                       )
                 Plaintiff,              )               STIPULATION AND [PROPOSED]
11                                       )               ORDER CONTINUING
           v.                            )               SENTENCING DATE
12                                       )
     THURMAN MAXWELL,                    )
13                                       )
                 Defendant.              )
14   ____________________________________)
15          It is hereby stipulated by and between Tim Warriner, counsel for defendant Thurman
16   Maxwell, and Jason Hitt, Assistant United States Attorney, counsel for the government, that the
17   sentencing hearing now set for March 21, 2011 be vacated, and that judgment and sentencing be
18   set for June 6, 2011, at 8:30 a.m. The continuance is needed to afford counsel additional time to
19   address matters concerning the proposed presentence investigation report.
20          The parties hereby stipulate to the following schedule concerning the presentence
21   investigation report:
22          May 9, 2011           Informal Objections Due to Probation Officer/Counsel
23          May 16, 2011          Presentence Investigation Report Disclosed
24          May 23, 2011          Formal Objections to Presentence Investigation Report to be
                                  Filed
25
     Dated: March 17, 2011        /s/ Timothy E. Warriner, Attorney for Maxwell
26
     Dated: March 17, 2011        /s/ Jason Hitt, Assistant United States Attorney for
27                                The Government
28
              Case 2:07-cr-00248-WBS Document 805 Filed 03/18/11 Page 2 of 2


 1                                                ORDER
 2          GOOD CAUSE APPEARING, and based on the foregoing stipulation of counsel, the
 3   March 21, 2011 sentencing date is vacated, and the matter is set for judgment and sentence to
 4   occur on June 6, 2011 at 8:30 a.m. The court adopts the foregoing stipulation of the parties
 5   concerning the presentence investigation report.
 6   DATED: March 17, 2011
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